Case 1:20-mj-02158-MBB Document 1-1 Filed 01/27/20 Page 1 of 17

AFFIDAVIT IN SUPPORT OF APPLICATION FOR CRIMINAL COMPLAINT

I, Robert Plumb, being sworn, depose and state as follows:

1. lam a Special Agent with the Federal Bureau of Investigation (“FBI”), and have
been so employed since June 2016. 1am currently assigned to one of the FBI’s Counterintelligence
Squads in the Boston Field Office. My responsibilities include investigating violations of federal
criminal laws relating to espionage and theft of trade secrets, the mishandling of classified and
defense information, and export control laws. Previously, I was employed at the FBI as an
Intelligence Analyst. I worked in this capacity for six years. I have participated in numerous
investigations, during the course of which I have interviewed witnesses, conducted physical
surveillance, executed search warrants, and used other investigative techniques to secure relevant
information regarding various federal crimes.

2. I submit this affidavit in support of a Criminal Complaint charging Dr. Charles
Lieber (“LIEBER”) with making materially false, fictitious and fraudulent statements in a matter
within the jurisdiction of the Executive Branch of the United States, in violation of Title 18, United
States Code, Section 1001(a)(2). Specifically, based upon the evidence gathered thus far in this
ongoing investigation, I have probable cause to believe and do, in fact, believe that LIEBER made
materially false, fictitious and fraudulent statements regarding his participation in China’s
Thousand Talents Plan to the U.S. Department of Defense (“DoD”) on or about April 24, 2018. I
also have probable cause to believe and do, in fact, believe that, on or about January 10, 2019,
LIEBER made and caused to be made a series of materially false, fictitious and fraudulent
statements to the National Institutes of Health (“NIH”) about his involvement in the Thousand

Talents Plan and his affiliation with Wuhan University of Technology (“WUT”) in China.

 
Case 1:20-mj-02158-MBB Document 1-1 Filed 01/27/20 Page 2 of 17

3, Based on the evidence gathered to date, LIEBER was a “Strategic Scientist” at
WUT and a contractual participant in China’s Thousand Talents Plan for significant periods
between at least 2012 and 2017. The terms of LIEBER’s Thousand Talents contract called for
LIEBER to be paid up to $50,000 per month in salary and approximately $150,000 per year for
living and personal expenses by WUT. LIEBER was also awarded more than $1.5 million by
WUT and the Chinese government to establish a research lab and conduct research at WUT.

4, The information in this affidavit is based upon my training and experience, my
personal knowledge of this investigation, information conveyed to me by other law enforcement
agents and officials who assisted in the investigation, and the other sources of information
described herein. This affidavit is submitted for the limited purpose of establishing probable cause
to believe that LIEBER has committed the offenses described above. Accordingly, I have not
included each and every fact known to me and other law enforcement officers involved in this
investigation. I have set forth only those facts that I believe are necessary to establish the requisite
probable cause.

FACTS SUPPORTING PROBABLE CAUSE
Background

5. LIEBER is a full-time faculty member and Chair of the Department of Chemistry
and Chemical Biology at Harvard University in Cambridge, Massachusetts. He has been affiliated
with Harvard since approximately 1991. According to LIEBER’s biography on Harvard’s website,
LIEBER’s primary area of expertise and research is nanoscience.

6. At all times relevant to this complaint, LIEBER served as the Principal Investigator
of the Lieber Research Group at Harvard University. According to its website, the Lieber Research

Group “is focused broadly on science and technology at the nanoscale, using novel synthesized

 
Case 1:20-mj-02158-MBB Document 1-1 Filed 01/27/20 Page 3 of 17

| building blocks to push scientific boundaries in diverse areas from biology/medicine to energy and
computing.” The Lieber Research Group’s website identifies its principal sponsors as NIH and
DoD, including the Office of Naval Research (“ONR”) and the Air Force Office of Scientific
Research (“AFOSR”). Based upon records maintained by NIH, DoD, and Harvard University, I
know that the Lieber Research Group has received more than $15,000,000 in grant funding from
NIH and DoD since 2008.

7. A component of the United States Department of Health and Human Services, NIH
is a government agency responsible for biomedical and public health research. The NIH conducts
its own scientific research through an intramural research program, and also provides major
biomedical research funding to non-NIH research facilities through an extramural research
program. Many of the non-NIH research facilities that receive funding through NIH’s extramural
research program are colleges and universities, including Harvard University.

8. In order to receive NIH funding, non-NIH research institutions must submit a
detailed application describing, among other things: (a) the purpose and scope of the proposed
research; (b) the amount of funding requested; and (c) how the funding will be used. Both during
the application process and periodically after an award is made, the institution must also disclose
to NIH all foreign collaboration and foreign sources of research support, including, but not limited
to, research grants, cooperative agreements, contracts and/or institutional awards. Additionally,
NIH requires research institutions to identify and disclose to NIH significant (typically greater than
$5,000) financial conflicts of interest by investigators (that is, the person or persons responsible
for the design, conducting the research, and publishing or reporting the research performed
pursuant to the grant), including those related to funds received from a foreign institution of higher

education or the government of another country. Although it is the research institution itself that

 
Case 1:20-mj-02158-MBB Document 1-1 Filed 01/27/20 Page 4 of 17

submits the grant application and all other grant-related disclosures to NIH, the individual
investigator(s) must certify to the institution and NIH that the information contained in grant
applications, post-award submissions and all other grant-related filings is accurate and complete,
and also acknowledge that any false, fictitious or fraudulent statements or claims made to NIH
may subject the investigator to criminal, civil and/or administrative penalties.

9. WUT is a university located in Wuhan, China. It is considered a top-tier Chinese
university recognized for its studies of science and technology.

10. The “Chinese Talent Programs” refer collectively to various plans designed by the
Chinese Government to attract, recruit, and cultivate high-level scientific talent in furtherance of
China’s scientific development, economic prosperity, and national security. Implemented in 2008,
the “Thousand Talents Plan” is the most prominent Chinese talent recruitment plan designed by
the Chinese Government to incentivize individuals engaged in research and development in the
United States to transmit the knowledge and research they gain here to China in exchange for
salaries, research funding, lab space, honorary titles, and other incentives. The Thousand Talents
Plan is designed to lure both Chinese overseas talent and foreign experts to bring their knowledge
and experience to China. The so-called “World Recruitment Plan of Renowned Experts in China”
is part of the Thousand Talents Plan. The Chinese Talent Programs have rewarded individuals for
stealing proprietary information and violating export controls.

Lieber’s Affiliation with WUT and China’s Thousand Talents Plan

11. According to records maintained by Harvard University, LIEBER traveled to WUT
in mid-November 2011 ostensibly in order to participate in a Nano-Energy Materials Forum being
hosted by WUT. Just days before LIEBER’s trip, a professor at WUT (hereafter the “WUT

Professor”) emailed LIEBER a “Contract for Strategic Scientist’s Appointment” (hereafter the

 
Case 1:20-mj-02158-MBB Document 1-1 Filed 01/27/20 Page 5 of 17

“Strategic Scientist Agreement”). He also informed LIEBER that LIEBER had been
recommended for the “The Recruitment Program of Global Experts,” which I know to be part of
China’s Thousand Talents Plan. In subsequent communications on or about November 11, 2011,
both LIEBER and the WUT Professor acknowledged that LIEBER would sign the Strategic
Scientist Agreement at WUT on November 15, 2011.

12. According to the agreement, which was written in both Chinese and English,
LIEBER was appointed as a Strategic Scientist at WUT for five years from on or about November

15, 2011, until on or about November 14, 2016. LIEBER’s objectives and tasks under the

agreement were as follows:

Artice ‘Iwo  Eoployment Objective and Tasks for Party 8
1. Make stratepic, visiomiry ond creative research proposals i eutde the advincement
of disciplines or scientific research institutes to become first clase disciplines or seientitic

research iewtitutes in China er ihe world, espoctally in froin ures.
2, Supervise poung leachers or receive (hen as visiting schol, colding or ecpinlite

pextyraduute students (including postdoctoral students}, lealing them te the intentional
forefrowt of related fields. jointly publishing academic papers in top international journals
Gin the name of WIT, and WUT theulty or students as the first author) or publishing
high-level avmlemic monageapls and guiding young wachers Je wit nalionsl awards oF
influential international acudcmic awards,

3, Build up a Discipline Innevative Team, iatroducing and culsivating high-level talents
ty bet as qualified ws those of Chinas L000 Young Tolewis Phim, Distinguished Prolessery of
Chang Jiang Scholars and wirmers al National Science Fund for Distinguished Young
Seholars. |

4, Conduct national unpectent (key? proyects on intemotional ceuperation projects that
meet Ching’s nalional strategic deenlupment requirements or alam! at dhe fivettont of
intemmational science and technolngy research field,

§_ Carey aut interautional exchanges and cooperation, and hast or joturly host prominent

international academe confirences in the mame oF WHIT.

 
Case 1:20-mj-02158-MBB Document 1-1 Filed 01/27/20 Page 6 of 17

13. According to the contract, WUT agreed to pay LIEBER $50,000 U.S. Dollars
(“USD”) per month, prorated according to LIEBER’s “actual work time” at WUT. WUT also
agreed to provide LIEBER with round-trip, business-class airfare to and from WUT. Finally, the
agreement alluded to LIEBER’s future involvement with China’s Thousand Talents Plan, and
allowed for seemingly greater monthly compensation to LIEBER in the future:

4, Once Party B gains a Chinese government-sponsored position through sucecssful
application for various Chinese talent-related projects. Party A shall adjust its payment terms
io ensure that Party B enjoys more benefits on the principle of “taking the higher pay”, but
the same benefit terms will not be paid twice,

14, LIEBER returned to Massachusetts from WUT on or about November 16, 2011.
Two days later, in an email to the WUT Professor, LIEBER wrote, “I very much appreciate the
effort that you put into making my visit a good one. I also agree that it would productive, and
hope that we can push forward as per discussions to build up the joint laboratory to a truly world-
level facility.” Approximately one month later, on or about December 19, 2011, the WUT
Professor emailed portions of a proposed website for the “WUT-Harvard Joint Nano Key
Laboratory,” which, according to the website, was established in 2009. The website prominently
featured LIEBER’s name, photograph and biographical information, and it identified him as the
“Laboratory Director.” In his email to LIEBER about the website, the WUT Professor noted that
“the Chinese version [of the website] will be made after your approval for [sic] the English
version.”

15. Onor about April 3, 2012, approximately five months after executing the Strategic
Scientist Agreement with WUT, the WUT Professor wrote an email to LIEBER informing him
that he had been selected to participate in China’s Thousand Talents Plan. At that time, LIEBER’s

selection entailed awards by WUT and the Chinese Government of approximately $158,000 USD

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6

 
Case 1:20-mj-02158-MBB Document 1-1 Filed 01/27/20 Page 7 of 17

in “personal benefits” and nearly $800,000 USD in “research funding.” Specifically, the WUT
Professor wrote,

I am very happy to let you know that, in the World Recruitment
Plan of renowned experts in China (also called as one thousand plan
of foreign experts), you have been approved and awarded as invited
strategic foreign expert by Chinese government because of your
world-leading achievements, the good collaboration basis
between you and WUT, and your great contribution to national
academic exchange between China and USA. You are provided
with personal benefit of one million RMB (~158,800 USD), a
research funding of 5 million RMB (~794,000 USD) for
development of WUT-Harvard joint nano key lab and collaboration
research This plan is the highest plan/program for famous foreign
scientists in Chinese scientific field and only 40 famous experts
from the world were awarded. (Emphasis original.)

16. Nearly three months later, on or about June 27, 2012, the WUT Professor shared
with LIEBER a contract titled “Employment Contract of ‘One Thousand Talent’ High Level
Foreign Expert” between LIEBER and WUT (hereafter the “Thousand Talents Agreement”). The
WUT Professor asked for LIEBER’s “ideas/comments/suggestions” within “one week when your
schedule allows (of course, the sooner the better).” The first page of the agreement appeared as

follows:

 
Case 1:20-mj-02158-MBB Document 1-1 Filed 01/27/20 Page 8 of 17

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EMPLOYMENT CONTRACT of
“ONE THOUSAND TALENT” HIGH LEVEI. FORTTGN EXPERT

 

HE(EAA : Ree LKS ( HERA )
SRA * -ATS SREAABSR, ZSBRRASAR
Charles M. Lieber Ht ( M2 )

Employer ( Party A}: Wuhan Universily of Technelogy

 

Employee (Party B }* One Thousand Talent” high level foreign expert. professor

Charles M1 Lieber trom Harvard University, USA.

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B2NAFSHR . URSA.

Both sides, in line with the principles of legality, fairness, equality, and mutual
agreement, to cnsure the implementation of “One Thousand Talent” high level forcign
expert plan, and to guarantce the legal rights and obligations of both sides, on the
basis of Chinese laws and rules concermed, agree to sign this contract.

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1. Duration of the Contract

The term of this contract will be 3 years since the date of signature. Both parties
cat sign the new contract through consultation and mutual consent after the contract is

upon expiration with the permission of superior authorities department.

17. The Thousand Talents Agreement was effective for three years “from the date of
signature.” Among other things, the agreement obligated LIEBER to conduct scientific research;
to “publish high-level articles in the renowned and important international academic journals in
the name of Wuhan University of Technology;” to assemble a research team with “strong ability
of [sic] research and innovation” in LIEBER’s field of expertise; to “guide 1-2 distinguished young

scholars and 3-4 doctoral students ... and help them publish systematic articles in the international

8

 
Case 1:20-mj-02158-MBB Document 1-1 Filed 01/27/20 Page 9 of 17

renowned journals;” to “organize 1-2 predominant influencing international conferences in his
field in the name of Wuhan University of Technology;” and “invite 1-3 international top scientists
to work in the lab as visiting scholars.” The agreement also required LIEBER to work at or for
WUT “not less than nine months a year” by “declaring international cooperation projects,
cultivating young teachers and Ph.D. students, organizing international conference[s], applying for
patents and publishing articles in the name of’ WUT.

18. In exchange for his work for and on behalf of WUT, WUT agreed to pay LIEBER
$50,000 USD per month, and living expenses of up to 1,000,000 Chinese Yuan (based on 2012
exchange rates, approximately $158,000 USD) to be paid over the three-year term of the contract.
The contract also allocated 11,000,000 Chinese Yuan (or roughly $1.74 million USD based on
2012 exchange rates) for the joint Harvard-WUT Nano Key Lab and related research. The
following portion of the contract documented those financial terms. WUT is referred to as “Party

A,” while LIEBER is referred to as “Party B.”

 
Case 1:20-mj-02158-MBB Document 1-1 Filed 01/27/20 Page 10 of 17

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2. Party A’s Obligations

(1), Party A shall respect Party B's legal rights

(2), Party A shall provide Party B with necessary working and living conditions

a, working and lab conditions: Party A shall provide Party B with working and lab
conditions according to Party B's requirement

b. scientific research funding: Party A shall provide Party B ten million Chinese Yuan
(10,000,000 RMB} including five million RMB from national fund during the tern af
this contract io the construction of new direction and infrastructure construction,
equipments and instruments purchasing. This amount of money shall be managed by
Party A, and Party 3 cart use it after discussing with the co-professar from Party A.

¢. talent team construction condition: Party A shall construct talent team according to
Party B’s requirement and provide one million Chinese Yuan (1,000,000 RMB) as the
funds of talent team construction each year, The funds shall be mainly ased as the
payment, accommodation, and travel expense of Party B and the team members, This
amount of money shall be managed by Party A, and Party B can use it.

d. payment and living conditions: Party A shall provide Party B with fifty thousand
U.S. Dollars ($ 30,000) per month (before tax}, paid according to his working time in
Wuhan University of Technology. Party A shall provide Pany B with one million
Chinese Yuan (1,000,000RMB) (after tax} as living allowance which will be paid 13a

year for three years,

10

 
Case 1:20-mj-02158-MBB Document 1-1 Filed 01/27/20 Page 11 of 17

19. In a subsequent email to LIEBER dated July 10, 2012, the WUT Professor told
LIEBER that WUT’s president had signed the “1000 plan agreement” and that executed copies of
the agreement had been mailed to LIEBER in Massachusetts for his signature. In an email dated
on or about July 21, 2012, the WUT Professor informed LIEBER that WUT had received copies
of the Thousand Talents Agreement signed by LIEBER.

20. After signing the Thousand Talents Agreement, LIEBER returned to WUT in
November 2012. LIEBER’s travel expenses to and from Wuhan were paid by WUT. Prior to this
trip, arrangements were made to pay LIEBER his salary and living expenses as specified in the
Thousand Talents Agreement. For example, in an email dated on or about October 26, 2012, a
WUT employee (hereafter the “WUT Employee”) wrote to LIEBER:

Before your visit, I would like to talk about one detail in the
implementation of the contract of “one thousand talent” high level
foreign expert between you and our university. According to the
article concerning the payment and living conditions, I want to know
the way you prefer to be paid so that everything can be prepared
before your coming. I would like to provide two options for you to
choose if you do not mind. Option one. I help you open a new bank
account in the Chinese Bank named [redacted]. The payment will
be put into your account and you can get the payment from the
branch of [redacted] in your country. Option Two. I can prepare
the payment in cash.

21. Less than three months later, on or about January 10, 2013, the WUT Professor
emailed LIEBER an agreement titled “Academic Cooperative Agreement between Harvard
University, USA and Wuhan University of Technology, P.R. China.” The stated purpose of the
agreement, which had a five-year effective term, was to “carry out advanced research and
development of nanowire-based lithium ion batteries with high performance for electric vehicles.”

Apart from its stated objective, the agreement provided for a “cooperative research program”

whereby researchers from WUT would “visit Department of Chemistry and Chemical Biology of

11

 
Case 1:20-mj-02158-MBB Document 1-1 Filed 01/27/20 Page 12 of 17

Harvard University for two months each year.” Without consulting any Harvard officials, LIEBER
signed the agreement on Harvard’s behalf and returned the executed copies to the WUT Professor
on or about January 11,2013. I understand from conversations with Harvard’s representatives that
LIEBER did not have the authority to execute this contract on behalf of Harvard.

22. One year later, LIEBER continued to work closely with — and continued to receive
compensation from — WUT. For example, on or about January 18, 2014, LIEBER wrote to the
WUT Professor and another person affiliated with WUT that he would accept a WUT graduate
student (hereinafter the “Graduate Student”) as a long-term “WUT-HU joint Ph.D. student”
provided that WUT “support all of [the Graduate Student’s] salary and research costs while
working in my lab.” In the same communication, LIEBER discussed an upcoming visit to WOT
in February 2014, and he made specific demands regarding the payment of his salary:

I would like to receive ~1/2 of salary (for the current period) in US
dollars, with the remainder deposited into the bank account that was
set-up. The ~00 that I promised to pay for the party following Lin
Xu’s Ph.D. defense in April, can be deduced from either 1/2.

23. In June of 2014, LIEBER continued to discuss his compensation under the
Thousand Talents Agreement with WUT. In an email to the WUT Employee dated June 16, 2014,
LIEBER asked to maintain his bank account “the way it has been for now” and he reiterated his
earlier request that half of his salary be deposited into his Chinese bank account and the other half
be paid to him in cash when he next visited WUT. LIEBER further stated, “I think this is close to
what [we] have done in [the] past.”

24. — In late January 2015, LIEBER outlined his ongoing relationship with WUT,
confirming that he intended to visit WUT “several” times per year or “perhaps slightly more in the

next couple years as we try to build up the nano-bio part of the lab;” that he would be available for

“electronic communication on a very regular basis with students (email, telephone, skype) so that

12

 
Case 1:20-mj-02158-MBB Document 1-1 Filed 01/27/20 Page 13 of 17

they obtain full input from me as an advisor;” and that “students visiting [from WUT] for periods
at Harvard would have [the] same access as normal Harvard graduate students.”

25. Around the same time, independent of LIEBER, Harvard administrators learned for
the first time of the WUT-Harvard Joint Nano Key Laboratory at WUT, including the fact that
LIEBER was the director of the lab. Harvard officials confronted LIEBER about the joint lab, and
informed him that the improper use of Harvard’s name and logo — orchestrated by LIEBER
without Harvard’s consent — violated University policy. In response, LIEBER falsely told
Harvard officials that he was involved in collaborative research with WUT for “mutual scientific
interaction,” but that WUT was using Harvard’s name and logo without his knowledge or consent.

26.  Onor about February 3, 2015, LIEBER emailed the WUT Professor and told him
that WUT must cease using Harvard’s name, stating, “Our agreement for research collaboration is
between you/Wuhan University of Technology (WUT) and me, and does not constitute an
agreement with Harvard University.” (Emphasis original.) Subsequent emails suggest that
LIEBER took additional steps to try and distance himself — at least publically — from WUT in
the wake of Harvard’s discovery of the joint Harvard-WUT nano lab. These included cancelling
a trip to WUT in June 2015 and advising a postdoctoral fellow at the Lieber Research Group to
continue her work in LIEBER’s lab rather than starting a position at WUT. |

27. Nevertheless, LIEBER’s Thousand Talents Agreement and the earlier Strategic
Scientist Agreement (which, according to their terms, expired in July 2015 and November 2016,
respectively) appear to have remained in place well after January 2015. For example, in an email
dated on or about February 20, 2015, LIEBER told the WUT Professor that he would continue his
review of a manuscript written by WUT researchers. In the same email, LIEBER also said that he

“may be in touch with regards to several issues relating to my appointment/salary/funding @

13

 
Case 1:20-mj-02158-MBB Document 1-1 Filed 01/27/20 Page 14 of 17

WUT....” Although it is unclear what precise “issues” LIEBER was referring to, at a minimum,
this email shows that LIEBER continued to be paid by WUT after January 2015.

28. In an email dated November 26, 2015, the WUT Professor thanked LIEBER “for
all you have done for our university and me!” The WUT Professor also told LIEBER that WUT
had “put your salary in your ... [bank] card and we will help you change the cash for you when
youcome to Wuhan.” The fact that WUT continued to pay LIEBER’s salary in late 2015 indicates
to me that LIEBER, in fact, continued to work for, and with, WUT throughout 2015.

29. The payment of salary to LIEBER by WUT appears to have continued into 2017.
In an email dated on or about January 14, 2017, the WUT Professor sent the following message to
LIEBER:

During our last meeting you mentioned the tour of Bejing in the end

of Feb. or early March. President [of WUT]..., I and all faculties

and students in our Joint Nano Lab would like to invite you to visit

WUT and our Joint Nano Lab. If your schedule is available, we

would like to take this chance to express our everlasting gratitude to

your great support for our university and me! Our university has put

your salary in your ... [bank] card and we will help you change the

cash for you when you come to Wuhan. Our university will cover

your first-class flight ticket and accomadation [sic] like before. We

would like to know your idea. With my best regards and thank you

very much for your strong support again.
By this point, according to their express terms, LIEBER’s Strategic Scientist and Thousand Talents
Agreements with WUT had expired. Insofar as it discusses the payment of additional salary to
LIEBER in January 2017, this email is evidence that LIEBER may have executed a new agreement
with WUT at some point in either late 2016 or early 2017.

Lieber’s False Statements to DoD

30. Since 2009, LIEBER has been the principal investigator associated with at least six

research grants funded by various DoD entities, including ONR and AFOSR. The total value of

14

 
Case 1:20-mj-02158-MBB Document 1-1 Filed 01/27/20 Page 15 of 17

these grants exceeded $8 million. As of April 2018, LIEBER was the principal investigator
associated with three active DoD grants.

31. On April 24, 2018, DoD investigators interviewed LIEBER about his active grants
and whether LIEBER had appropriately disclosed foreign research collaboration to DoD. During
the interview, which took place at LIEBER’s lab on the Harvard Campus, LIEBER said that he
was familiar with China’s Thousand Talent’s Plan, but that he had never been asked to participate
in the program. Although LIEBER stated that he was never asked to participate in the Thousand
Talents Program, he also told DoD investigators that he “wasn’t sure” how China categorized him.
I believe these statements were false because, as described above, WUT expressly asked LIEBER
on numerous occasions in 2012 to participate in the Thousand Talents Program and to sign a
Thousand Talents Agreement with WUT. Moreover, based upon the email correspondence
described above that I have reviewed, LIEBER did sign a three-year Thousand Talents Agreement
with WUT on or about July 21, 2012, and was paid by WUT over the course of several years
pursuant to that agreement. The agreement that LIEBER signed was titled “Employment Contract
of ‘One Thousand Talent’ High Level Foreign Expert” and it referred to LIEBER as a “One
Thousand Talent.”

32. On April 26, 2018, two days after his interview with DoD, LIEBER emailed a
research associate affiliated with the Lieber Research Group the following message:

Can you also provide me with the link/info to CAS webpage where
I am listed as directing (?) that lab at Wuhan? I lost a lot of sleep
worrying about all of these things last night and want to start taking
steps to correct sooner than later. I will be careful about what I
discuss with Harvard University, and none of this will be shared
with government investigators at this time.

I believe that “CAS” refers to the China Academy of Sciences, which I know to be a top Chinese

research institute. According to Harvard University’s website, LIEBER was elected to the CAS

15

 
Case 1:20-mj-02158-MBB Document 1-1 Filed 01/27/20 Page 16 of 17

in December 2015. At a minimum, this email demonstrates that LIEBER withheld information
from “government investigators” about his relationship with WUT. Given the timing of this email
— two days after his interview with DoD — I believe LIEBER was referring specifically to the
DoD investigators.

Lieber’s False Statements to NIH

33.  Tamaware that LIEBER was the principal investigator associated with at least three
NIH-funded research grants awarded to Harvard University since 2008. The total value of those
grants exceeded $10 million. Two of those grants were being actively funded by NIH as of
November 2018. |

34. On or about November 15, 2018, NIH inquired of Harvard about whether LIEBER
and/or Harvard had failed to disclose LIEBER’s then-suspected relationship with WUT and
China’s Thousand Talents Plan. In order to respond to NIH’s inquiry, Harvard interviewed
LIEBER about his foreign affiliations generally, and any connection he might have to WUT in
particular. Based upon information provided by LIEBER during that interview, Harvard submitted
a detailed written response to NIH on or about January 10, 2019. I believe that LIEBER caused
Harvard to make materially false and misleading statements about his connection to WUT and the
Thousand Talents Plan in that written submission.

35. Specifically, LIEBER caused Harvard to tell NIH that LIEBER “had no formal
association with WUT” after 2012, but that “WUT continued to falsely exaggerate” LIEBER’s
involvement with WUT in subsequent years. This statement was false because, as described
above, LIEBER maintained a formal, collaborative relationship with WUT between at least 2012
and 2017 that included the Visiting Scientist Agreement, the Thousand Talents Agreement, an

Academic Cooperative Agreement between Harvard and WUT, and possibly other agreements.

16

 
Case 1:20-mj-02158-MBB Document 1-1 Filed 01/27/20 Page 17 of 17

36. LIEBER also caused Harvard to tell NIH that LIEBER “is not and has never been
a participant in” China’s Thousand Talents Plan. This statement was also false because LIEBER
did, in fact, sign a three-year Thousand Talents Agreement with WUT on or about July 21, 2012.

CONCLUSION

37. Based on the forgoing facts, and on my experience, training and discussions with
other individuals involved in this investigation, I believe that probable cause exists to conclude
that on or about April 24, 2018, LIEBER knowingly and willfully made materially false, fictitious
and fraudulent statements to DoD in violation of 18 U.S.C. § 1001(a)(2). In addition, I believe
that probable cause exists to conclude that on or about January 10, 2019, LIEBER made and caused
to be made a series of materially false, fictitious and fraudulent statements to NIH, also in violation

in 18 U.S.C. § 1001(a)(2).

 

 

Robert Plumb ]
Special Agent, FBI

 

17

 
